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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Stephanie Ciupka
                                Plaintiff,
v.                                                    Case No.: 1:19−cv−06559
                                                      Honorable Joan H. Lefkow
Harris & Harris, Ltd.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 27, 2020:


        MINUTE entry before the Honorable Joan H. Lefkow: Pursuant to the stipulation
of dismissal [24], this case is dismissed without prejudice with each party to bear its own
costs and fees. Civil case terminated. Mailed notice (ags)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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